                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                Case No. 07-CR-320

GERMAINE JOHNSON
              Defendant.


                               SENTENCING MEMORANDUM

       Defendant Germaine Johnson pleaded guilty to possession of 500 grams or more of

cocaine with intent to distribute, 21 U.S.C. §§ 841(a)(1) & (b)(1)(B), and I set the case for

sentencing. In imposing sentence, I first calculate the advisory sentencing guideline range,

consider any requests for a guideline departure, then determine the ultimate sentence under

all of the factors set forth in 18 U.S.C. § 3553(a). See Rita v. United States, 127 S. Ct. 2456,

2465 (2007); see also Gall v. United States, 128 S. Ct. 586, 596-97 (2007); United States v.

Bush, 523 F.3d 727, 729 (7th Cir. 2008).

                                       I. GUIDELINES

       The parties agreed to a drug weight of two kilograms of cocaine, which produced a base

offense level of 28 under U.S.S.G. § 2D1.1(c)(11). Based on his limited record, the lack of

aggravating circumstances, and his provision of information about the offense, the parties

further agreed that defendant qualified for a 2 level reduction under the safety valve provision,

U.S.S.G. § 2D1.1(b)(11), and based on his timely guilty plea to a 3 level reduction for

acceptance of responsibility under § 3E1.1, for a final offense level of 23. Coupled with

defendant’s criminal history category of I, level 23 produces an imprisonment range of 46-57



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months.

                                       II. DEPARTURE

A.     Substantial Assistance Factors

       The government moved for a departure under U.S.S.G. § 5K1.1 and 18 U.S.C. §

3553(e) to reward defendant for his substantial assistance. In ruling on such a motion, I

consider:

       (1) . . . the significance and usefulness of the defendant’s assistance, taking into
       consideration the government’s evaluation of the assistance rendered;

       (2) the truthfulness, completeness, and reliability of any information or testimony
       provided by the defendant;

       (3) the nature and extent of the defendant’s assistance;

       (4) any injury suffered, or any danger or risk of injury to the defendant or his
       family resulting from his assistance;

       (5) the timeliness of the defendant’s assistance.

U.S.S.G. § 5K1.1(a). I give substantial weight to the government’s evaluation of the extent of

the defendant’s assistance, U.S.S.G. § 5K1.1 cmt. n.3, but the extent of the departure is within

my discretion. In attempting to quantify the departure, I typically use the method suggested by

the Seventh Circuit of granting something on the order of a 2-level adjustment for each factor

found to be fully present, with a lesser reduction for those factors partially present. United

States v. Matthews, 463 F. Supp. 2d 916, 918 (E.D. Wis. 2006).

B.     Analysis

       Defendant’s assistance in this case consisted of debriefing about his drug trafficking

relationship with the co-defendant, Charles Graf, who made conflicting statements to police

after his arrest. Defendant provided information that allowed the government to recommend


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that Graf be held responsible for 13 kilograms of cocaine, a recommendation included in Graf’s

plea agreement.

       The government recommended a 20% reduction, and I found something along those

lines appropriate. I awarded 1 level under the first factor because defendant’s information was

significant and useful in setting Graf’s drug weight, but the police already had sufficient

information aside from defendant’s debrief to convict Graf, so a further reduction was not

warranted. I awarded 1 level under the second factor because defendant’s information as it

pertained to Graf appeared to be truthful and reliable. The record contained no indication as

to completeness or reliability in any other context. I awarded 1 level under the third factor

because the assistance was limited to debriefing; defendant engaged in no active cooperation.

I awarded nothing under the fourth and fifth factors, as there was no evidence of particular

danger or risk, or that the assistance was particularly timely. Therefore, with a total reduction

of 3 levels, the range dropped to 33-41 months.

                                    III. SECTION 3553(a)

A.     Sentencing Factors

       In imposing the final sentence, the district court must consider:

       (1)    the nature and circumstances of the offense, and the history and characteristics
              of the defendant;

       (2)    the need for the sentence imposed–

              (A) to reflect the seriousness of the offense, to promote respect for the law,
              and to provide just punishment for the offense;

              (B) to afford adequate deterrence to criminal conduct;

              (C) to protect the public from further crimes of the defendant; and



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             (D) to provide the defendant with needed educational or vocational training,
             medical care, or other correctional treatment in the most effective manner;

      (3)    the kinds of sentences available;

      (4)    the advisory guideline range;

      (5)    any pertinent policy statements issued by the Sentencing Commission;

      (6)    the need to avoid unwarranted sentence disparities; and

      (7)    the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a). The court must, after considering these factors, impose a sentence that

is “sufficient but not greater than necessary” to satisfy the purposes of sentencing – just

punishment, deterrence, protection of the public and rehabilitation of the defendant. Id.

      The guidelines carry no more weight than the other § 3553(a) factors in making this

determination. See United States v. Carter, 530 F.3d 565, 578 (7th Cir.), cert. denied, 129 S.

Ct. 474 (2008). Thus, while the district court must give respectful consideration to the

guidelines in determining a sufficient sentence, it may not presume that the guideline sentence

is correct, Gall, 128 S. Ct. at 596-97; rather, it must consider the parties’ arguments and

determine an appropriate sentence “without any thumb on the scale favoring a guideline

sentence,” United States v. Sachsenmaier, 491 F.3d 680, 685 (7th Cir. 2007). The court is free

to impose a sentence above or below the range so long as it adequately sets forth reasons,

consistent with the § 3553(a) factors, for finding the sentence appropriate for the particular

defendant. United States v. McKinney, 543 F.3d 911, 913-14 (7th Cir. 2008) (citing United

States v. Castro-Juarez, 425 F.3d 430, 436 (7th Cir. 2005)).




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B.    Analysis

      1.     Nature of Offense

      Law enforcement received information that a man known as “J” – later identified as

defendant – sold cocaine out of his residence. Officers conducted surveillance, and on July

31, 2006, saw defendant and a man later identified as Graf exit the residence, with Graf

holding a plastic bag. Graf got in his car and drove to another location, where he sat parked.

Officers approached, got consent to search, and found over $20,000 cash and 125 grams of

cocaine. Officers then executed a warrant at defendant’s house and recovered $17,000 and

a kilogram of cocaine. In a post-arrest statement, Graf said that he sold defendant the

kilogram of cocaine recovered from defendant’s house, along with a second kilogram, and was

picking up the balance of the purchase price before his arrest. The parties agreed that

defendant’s relevant conduct was 2 kilograms of cocaine.

      2.     Character of Defendant

      Defendant was twenty-seven years old, with a minimal prior record consisting of three

marijuana possession cases, two of which had been expunged, and some noise violations. He

graduated high school but until fairly recently had a somewhat limited employment history. As

suggested by his record, he regularly smoked marijuana.

      However, following his initial arrest in this case, defendant made a real turnaround. The

case was first charged in state court in the summer of 2006, then dismissed in October 2006.

The federal charges came over a year later in December 2007, and defendant first appeared

in this court in February 2008. During the interim between the dismissal of the state charges

the commencement of the federal proceedings, defendant made significant changes in his life.



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He moved to a different city to get out of the bad environment he was in and secured a full-time

job in March 2007.      His managers wrote positive letters, attesting to his work ethic,

dependability and motivation. Defendant also returned to school, taking classes at Milwaukee

Area Technical College (“MATC”), and took and passed a real estate exam. At the time of

sentencing, he worked full-time and carried a full course-load at MATC. The family members

who spoke to the PSR writer and wrote to the court further attested to the changes defendant

made. He made these changes at a time when no case was pending, so it was not just to

impress a court or obtain a lighter sentence. Finally, after some early positives, defendant

submitted negative drug screens for over a year on pre-trial supervision.

       3.      The Guidelines and Purposes of Sentencing

       The guidelines recommended 33-41 months after the departure, but under all of the

circumstances, particularly defendant’s significant post-offense rehabilitation, I found a

sentence served in the community under strict conditions sufficient to satisfy the purposes of

sentencing. Defendant committed a serious offense, but there did not appear to be any

aggravating factors present here, like violence, weapons or threats. Thus, I concluded that,

in conjunction with the time he had already served, a lengthy period of home confinement

sufficed to provide just punishment. Given his recent good conduct, efforts at cooperation and

minimal prior record, I saw no need for prison to protect the public or to deter him from future

crimes. I found that, at this point, a prison sentence would derail him from the positive path he

was on. Given these extraordinary circumstances, a sentence served in the community was

appropriate.

       I found this case much like Gall, in which the Supreme Court affirmed a sentence of

probation for a drug offender, despite a guideline recommendation of 30-37 months. In this

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case, like Gall, defendant voluntarily left the drug trade, moved to a different area, resumed his

education and found legitimate employment. See Gall, 128 S. Ct. at 592. Like the defendant

in Gall, this defendant likewise deserved a chance to serve his sentence in the community.

                                      IV. CONCLUSION

       Probation was not an available sentence here because the offense of conviction was

a class B felony. See 18 U.S.C. § 3561(a)(1). However, I fashioned a sentence that allowed

defendant to remain in the community. Defendant served some time in custody after his arrest

on the federal indictment. Therefore, I committed defendant to the custody of the Bureau of

Prisons for a period of time served. I further ordered him to serve a term of supervised release

of 5 years. I selected a lengthy term to ensure that he was monitored and stayed on the right

track. As conditions, I ordered him to comply with the conditions of home confinement for 6

months, participate in drug testing and treatment, and perform 20 hours of community service

work per year for a total of 100 hours. Other terms and conditions of the sentence appear in

the judgment.

       Dated at Milwaukee, Wisconsin, this 15th day of April, 2009.


                                           /s Lynn Adelman
                                           ________________________________________
                                           LYNN ADELMAN
                                           District Judge




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